                  Case: 1:24-cv-00666 Document #: 27 Filed: 02/22/24 Page 1 of 2 PageID #:683
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
ALBERT KOETSIER


                                                                 CASE NUMBER:       1:24-cv-00666
                                V.                               ASSIGNED JUDGE:
                                                                                    LaShonda A. Hunt
 THE PARTNERSHIPS AND                                            DESIGNATED
 UNINCORPORATED ASSOCIATIONS                                     MAGISTRATE JUDGE: Young B. Kim
 IDENTIFIED ON SCHEDULE “A”


                    TO: (Name and address of Defendant)
       zhengqianhan Trading Co., Ltd. and all other Defendants identified in the Complaint




          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Keith A. Vogt
                 Keith Vogt, Ltd.
                 33 West Jackson Boulevard, #2W
                 Chicago, Illinois 60604


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                      February 20, 2024

     (By) DEPUTY CLERK                                                                DATE
                   Case: 1:24-cv-00666 Document #: 27 Filed: 02/22/24 Page 2 of 2 PageID #:684
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)                        February 22, 2024
NAME OF SERVER (PRINT)                                                                  TITLE
Keith A. Vogt                                                                           Attorney
   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




         X
         G Other (specify):        See Attached Declaration of Service




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                              TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.


                          February 22, 2024                              /s/ Keith A. Vogt
          Executed on
                                        Date                    Signature of Server



                                                                33 West Jackson Boulevard, #2W Chicago, Illinois 60604
                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
